OPINION — AG — ** SALVAGE YARDS — LOCATION ** THE ENACTMENT OF 69 O.S. 1971 1226 [69-1226], 69 O.S. 1971 1227 [69-1227], 69 O.S. 1971 1228 [69-1228] DOES NOT AFFECT ATTORNEY GENERAL OPINION NO. 65-456, 69 O.S. 1971 1226 [69-1226] THRU 69 O.S. 1971 1228 [69-1228] ARE CONSTITUTIONAL. CITE: 69 O.S. 1968 Supp., 145 [69-145], 69 O.S. 1968 Supp., 147 [69-147] (HAROLD B. MCMILLAN JR)